Firefox                                                                                     https://securecourtcaseaccess.nmcourts.gov/CaseDetail.aspx?CaseID=8...


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                                                                      Rൾ඀ංඌඍൾඋ ඈൿ Aർඍංඈඇඌ
                                                                     Cൺඌൾ Nඈ. D-202-CV-2020-05310

          Security USA Services LLC v. Invariant Corp, et al.                           §                                      Civil Violations, Statutes,
                                                                                                                 Case Type:
                                                                                        §                                      Ordinances
                                                                                        §                        Date Filed: 09/21/2020
                                                                                        §                          Location:
                                                                                        §                    Judicial Officer: O'Connell, Erin
                                                                                        §


                                                                                 Pൺඋඍඒ Iඇൿඈඋආൺඍංඈඇ

                                                                                                                                    Attorneys
          Defendant      Hyperion Technology Group Inc
                          3248 West Jackson, Rd.
                          Tupelo, MO 38801


          Defendant      Invariant Corp
                          4035 Chris Drive, Ste. F
                          Huntsville, AL 35802


          Plaintiff      Security USA Services LLC                                                                                  Augustine Rodriguez
                          3821 Singer Blvd., NE                                                                                      Retained
                          Albuquerque, NM 87109                                                                                     505-332-3173(W)


                                                                        Eඏൾඇඍඌ ๟ Oඋൽൾඋඌ ඈൿ ඍඁൾ Cඈඎඋඍ

                     OTHER EVENTS AND HEARINGS
          09/21/2020 Cause Of Actions           Statutes, Ordinance Violations, Miscellaneous
                     Action Type                Action
          09/21/2020 Cause Of Actions           Other Damages
                     Action Type                Action
          09/21/2020 Cause Of Actions           Tort Injunction
                     Action Type                Action
          09/21/2020 OPN: COMPLAINT
          09/21/2020 ARB: CERT NOT SUBJECT
          09/25/2020 Summons
                        Invariant Corp                                          Unserved
                        Hyperion Technology Group Inc                           Unserved


                                                                            Fංඇൺඇർංൺඅ Iඇൿඈඋආൺඍංඈඇ



                      Plaintiff Security USA Services LLC
                      Total Financial Assessment                                                                                                              132.00
                      Total Payments and Credits                                                                                                              132.00
                      Balance Due as of 10/26/2020                                                                                                              0.00

          09/21/2020 Transaction Assessment                                                                                                                    132.00
          09/21/2020 File & Serve Payment            Receipt # ALBD-2020-19778                         Security USA Services LLC                             (132.00)




                                                                                                                         EXHIBIT 1
1 of 1                                                                                                                                                10/26/2020, 5:26 PM
